Case 4:24-cr-00057-GKF Document 28 Filed in USDC ND/OK on 07/10/24 Page 1 of 1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff, Case No.: 24-cr-00057-GKF- |
vs. Date: 7/10/2024
Court Time: °F to = Cy A CTT
Morgan Cole Womack , MINUTE SHEET ARRAIGNMENT and/or CHANGE
Defendant(s). of PLEA

Mark T. Steele, U.S. Magistrate Judge L. Tiefenthaler, Deputy Clerk Courtroom 5
Counsel for Plaintiff: Adam Bailey
Counsel for Defendant: Craig M Hoehns , Appt.
Probation Officer:
Age of Defendant: LI \ Interpreter: C] sworn
Defendant appears in person: A with Counsel; O Counsel waived; C1 w/o Counsel; Defendant: sworn:

ZH Defendant Consents to Magistrate conducting Guilty Plea Hearing

Defendant’s name as reflected in the Indictment;

LD Verified in open court as the true and correct legal name
CJ Corrected by interlineation to

to reflect Defendant’s true and correct legal name and all previous filings are amended by interlineation to reflect same.
LJ Unable to verify in open court as the true and correct legal name: LJ U.S. Atty; LJ Deft’s Atty to verify, advise court
{A Defendant acknowledges receipt of Indictment
C] Defendant enters not guilty plea as to Count(s) _—_ of the Indictment (] Schedule to be entered

Defendant waives: Indictment; 4% Jury Trial; ©) Speedy Trial; Ll 30 Days Preparation; “] Separate Representation
Waivers approved by Court;

Defendant advised of: (charge and O arraigned; Indictment: 1] Read CO Reading waived

W Defendant relates fact of charge

W Defendant withdraws not guilty plea(s) as to Count(s) oa) of the Indictment

KY Defendant enters guilty plea to as to Count(s) of the Indictment

W Remaining Count(s) to be dismissed at sentencing: \

Petition to enter plea of Guilty sworn and executed

L] Findings re: Plea Agreement made; Findings re: Plea agreement reserved

{ZDefendant adjudged guilty as charged as to as to Count(s) re. of the Indictment

7 Petition Wand Plea Agreement disclosed in open Court and will be filed of record “PSI ordered
CL] SENTENCING SET at 8:00 a.m.

<WSENTENCING to be scheduled upon completion of PSI

CJ Defendant allowed to stand on present bond; (1 Government stipulates, findings made
Defendant remanded to custody of U.S. Marshal

Additional Minutes:

Arraignment_Change Of Plea MJ Felony (11/2021)
